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 8                                 UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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                                               FRESNO DIVISION
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13   GERALD CARLIN, JOHN RAHM, PAUL
     ROZWADOWSKI and DIANA WOLFE,                             Case No. 1:09-cv-00430-AWI-GSA
14   individually and on behalf of themselves and all
     others similarly situated,
                                                              CLASS ACTION
15                                    Plaintiffs,
     v.
                                                              ORDER GRANTING PLAINTIFFS’
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     DAIRYAMERICA, INC. and CALIFORNIA                        REQUEST TO SEAL REPLY BRIEFS
17   DAIRIES, INC.,                                           AND OTHER DOCUMENTS, AND TO
                             Defendants.                      FILE REDACTED VERSIONS
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     [1:09-cv-00430-AWI-GSA] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED VERSIONS
           Case 1:09-cv-00430-AWI-EPG Document 182 Filed 08/20/14 Page 2 of 2



 1                                                    ORDER
 2           This matter comes before the Court on the Plaintiffs’ Request to Seal Documents and File
 3   Redacted Versions (the “Request”) pursuant to Local Rules 140 and 141. Upon review of the
 4   Request and the unredacted and redacted versions of the documents at issue, the Request is
 5   hereby GRANTED. Accordingly, it is hereby ordered that the Clerk of the Court shall file
 6   unredacted versions of the following documents under seal:
 7           1.      Plaintiffs’ Reply Memorandum in Support of Motion For Leave To File Second
 8   Amended Consolidated Complaint;
 9           2.      Plaintiffs’ Reply To Non-Party And Amicus Curiae California Dairies Inc.’s Brief In
10   Opposition, and In Support of DairyAmerica Inc.’s Opposition, To Plaintiffs’ Motion For Leave To
11   File Second Amended Consolidated Complaint; and
12           3.      Objections To Declaration of Charles M. English in Support of DairyAmerica’s
13   Opposition To Plaintiffs’ Motion For Leave To File Second Amended Complaint.
14           In order to facilitate the filing of unredacted versions of the above-referenced documents
15   under seal, Plaintiffs shall e-mail these documents to the following e-mail address:
16   ApprovedSealed@caed.uscourts.gov. Upon entry of this Order and after the Clerk of the Court
17   has filed the unredacted documents under seal, Plaintiffs shall file redacted versions of the
18   above-referenced documents directly via CM/ECF.
19           Plaintiffs are advised that only the Court and its staff can view the sealed documents.
20   Counsel for Defendants and for Amicus Curiae will not be able to view the sealed documents via
21   the CM/ECF system. As such, Plaintiffs shall serve counsel for Defendants and counsel for
22   Amicus Curiae with copies of the unredacted documents to the extent that service on both sets of
23   counsel has not already been effectuated.
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     IT IS SO ORDERED.
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26       Dated:     August 19, 2014                                  /s/ Gary S. Austin
                                                     UNITED STATES MAGISTRATE JUDGE
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     [1:09-cv-00430-AWI-GSA] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL DOCUMENTS AND FILE REDACTED VERSIONS   2
